159 F.3d 1350
    Todd Patrick Boyerv.Betty Lou Macarski, M.A. Bollinger, Captain, Tim C. Outlaw,William Campbell, Federal Bureau of Prisons, LSCI-Allenwood,John Does #1-#6, unknown Agents and Representatives ofFederal Bureau of Prisons, Jane Does #1-#6, uknown Agentsand Representatives of Federal Bureau of Prisons
    NO. 98-7133
    United States Court of Appeals,Third Circuit.
    July 31, 1998
    Appeal From:  M.D.Pa. ,No.97cv1599
    
      1
      Affirmed in part, Vacated in part.
    
    